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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                                NEW ALBANY DIVISION

 IN RE:                                           :       CASE NO. 10-93904-BHL-11

          EASTERN LIVESTOCK CO., LLC,             :       (Judge Basil H. Lorch III)

               Debtor.                            :
                                                          MOTION OF THE FIRST BANK
                                                  :       AND TRUST COMPANY TO
                                                          REMOVE TRUSTEE PURSUANT
                                                  :       TO 11 U.S.C. § 324

                                            :
                      ___________________________________________


               The First Bank and Trust Company ("First Bank), by counsel, respectfully

 requests that the Court enter an order removing James A. Knauer as Chapter 11 Trustee (the

 "Trustee"), pursuant to 11 U.S.C. §§324 and 1104 and states as follows:


               1.      On July 10, 2012, counsel for several creditors filed a Motion to Remove

 Trustee Pursuant to 11 U.S.C. §324 on behalf of Bluegrass Stockyards East, LLC, Bluegrass

 Stockyards, LLC, Bluegrass-Maysville Stockyards, LLC, Bluegrass Stockyards of Richmond,

 LLC, Bluegrass South Livestock Market, LLC, Bluegrass Stockyards of Campbellsville, LLC,

 East Tennessee Livestock Center, Inc., Southeast Livestock Exchange, LLC, Moseley Cattle

 Auction, Inc., Piedmont Livestock Company, Inc. and Alton Darnell [Dkt. No. 1237].

               2.      For the reasons set forth therein, incorporated fully by reference, First

 Bank also seeks removal of the Trustee. First Bank also incorporates fully by reference the

 Renewal of Objection of The First Bank and Trust Company to Application to Employ Baker &

 Daniels, LLP (n/k/a Faegre Baker Daniels LLP) as Counsel to Chapter 11 Trustee [Dkt. No.

 1238]. The inexorable conflicts of interest the Trustee and his Primary Counsel have
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 deliberately chosen not to disclose taint the entire process of this bankruptcy and the recovery of

 any significant funds for creditors other that Fifth Third Bank and Wells Fargo Bank. The Court

 should address the fundamental threshold issues of the removal of the Trustee and his Counsel

 before proceeding further with any motions, hearings, contested matters or adversary

 proceedings. Moreover, as First Bank has renewed its Objection to the Application for

 Employment of Trustee Counsel, he should be required to have independent separate counsel

 represent him if he intends to oppose these motions.

                WHEREFORE, First Bank respectfully requests that the Court enter an order (i)

 removing the Trustee; (ii) expressly preserving and reserving all parties rights' in relation to any

 further remedies; and (iii) for such further relief as the Court deems appropriate.




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                                            Respectfully submitted,



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                                     CERTIFICATE OF SERVICE

                   I certify that on the 10th day of July, 2012, I electronically filed the foregoing

 Motion of The First Bank and Trust Company to Remove Trustee Pursuant To 11 U.S.C. § 324

 with the Clerk of Courts using the CM/ECF system, which will send notification of such filing to

 CM/ECF participants:


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